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                            TANGARRA CONSULTANTS LIMITED 11/17


                                        EXPENSE                    AMOUNT



Transfer to Henke Property - Regency BCB Account Frozen             $100,020.00
Morning Star Holdings - Nevis Entities - Various Fees                 $1,250.00
Irish Stock Exchange - LEI Application for Point Investments Ltd        $350.00
Building work at Bewdley Mews - portion                               $3,133.37
Mailboxes - Suite 538                                                   $672.00
STEP - CLE Course                                                       $410.00
Magazine Subscription - Trusts and Trustees                             $250.00
Airfares                                                              $1,908.41
Bermuda Immigration - Status Application Fee                            $784.00
Hotels                                                                $4,519.37
Post                                                                      $2.30
Meals                                                                 $3,296.51
Courier                                                                 $849.54
Train                                                                    $94.00
Taxi                                                                    $189.00
Bermuda Customs                                                         $287.97
Computer Software                                                        $39.99
Computer Hardware                                                    $10,924.30
Parking                                                                 $175.00
Silent Circle                                                            $39.96
Dropbox Folder - 100 MB                                                   $9.99
Office Stationery and supplies                                          $158.00
Bermuda Gas for Tank refill                                              $14.58
Cleaning                                                                $360.00
Island Self Storage                                                   $1,790.00
Water - Bewdley                                                          $25.50
Electricity - Yadow Office                                            $1,388.37

TOTAL                                                               $132,942.16




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